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                                                       January 21, 2014

VIA ECF

Honorable Mark Falk
United States District Court
District of New Jersey
50 Walnut Street
Newark, NJ 07101


            Re:   Hoffman v. Clemens, et al., Civil Action No. 13-7924 (WJM)(MF)


Dear Magistrate Judge Falk:

       This office represents the Defendants in the above-referenced action, wherein a status
conference was held on January 15, 2014.

       Along with this letter, I am submitting a proposed Stipulated Order for the Court’s
consideration. Plaintiff has reviewed the proposed Stipulated Order and has agreed to its form.

        Thank you.

                                                    Respectfully submitted,



                                                      Scott Shaffer

cc: Harold M. Hoffman, Esq. (via ECF)




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